 1   ILENE J. LASHINSKY (#003073)
     United States Trustee
 2
     ELIZABETH C. AMOROSI (#10755)
 3   Assistant United States Trustee
     230 N. First Avenue, Suite 204
 4   Phoenix, Arizona 85003-1706
     (602) 682-2600
 5

 6                          IN THE UNITED STATES BANKRUPTCY COURT

 7                                     FOR THE DISTRICT OF ARIZONA

 8   In re:                               )   Chapter       7
                                          )
 9   Sarah Jean Benjamin,                 )   Case No.      4:19-bk-04249-BMW
                                          )
10                                        )   NOTICE OF APPOINTMENT OF TRUSTEE
                          Debtor(s).      )   IN REOPENED CASE
11

12              David Birdsell, Mesa, Arizona,              having previously filed a blanket bond

13   approved by the United States Trustee, has been appointed Trustee of the estate of the above-

14   named debtor(s), whose case was reopened for further administration.

15                                            Respectfully Submitted,

16                                            ELIZABETH C. AMOROSI
                                              Assistant United States Trustee
17                                            District of Arizona

18     Dated:       February 8, 2021          /s/ ECA (#10755)
                                              ELIZABETH C. AMOROSI
19                                            Assistant United States Trustee
                                              District of Arizona
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